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                                                  INAL
                                               Qeourt of jfeberal QClaims
                                           No. 16-lOOC

                                       (Filed: March 9, 2016)
                                     (NOT TO BE REPORTED)

 **********************************
                                               )
 FREDRICK WAYNE CONNORS,                       )
                                               )
                        Plaintiff,             )                          FILED
                                               )
        v.                                     )                        MAR - 9 2016
                                               )                       U.S. COURT OF
 UNITED ST ATES,                               )                      FEDERAL CLAIMS
                                               )
                        Defendant.             )
                                               )
 **********************************

       Fredrick Wayne Connors, Carson City, Nevada, prose.

        James W. Poirier, Trial Attorney, Commercial Litigation Branch, Civil Division, United
States Department of Justice, Washington, D.C., for the defendant. With him on the brief were
Benjamin C. Mizer, Principal Deputy Assistant Attorney General, Civil Division, and Robert E.
Kirschman, Jr., Director, and Franklin E. White, Assistant Director, Commercial Litigation
Branch, Civil Division, United States Department of Justice, Washington, D.C.

                                             ORDER

LETTOW, Judge.

        Plaintiff Fredrick Wayne Connors has filed an action without paying the court's filing
fee, instead requesting a fee waiver under the informa pauperis statute, 28 U.S.C. § 1915.
Pursuant to Paragraph 1915(e)(2) of that statute, "the court shall dismiss the case at any time if
the court determines that ... the action . .. is frivolous or malicious." The government has filed
a motion to dismiss the complaint for lack of subject matter jurisdiction. Def. 's Mot. to Dismiss,
ECFNo. 5.

         Mr. Connors has filed at least ten complaints "against various communications and
technology companies" between 2010 and 2015, all of which were dismissed as frivolous or
failing to state a claim. See, e.g., Connors v. Charter Business, No . 14-cv-688, 2015 WL
2194500, at *3 (D. Nev. May 11, 2015) (discussing plaintiffs filing history and dismissing
complaint as frivolous for making fanciful allegations of eavesdropping). In this instance,
Mr. Connors alleges that an "Organization" implanted a "VERI CHIP" on his inner ear, applied
"electricity and high decibel level frequency," and performed improper surveillance over
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Mr. Connors. Compl. at 2-4. Mr. Connors in effect claims he was "used as an object to develop
new technology against [his] will." Compl. at 1 (capitalization omitted). 1 Mr. Connors'
allegations are factually and legally frivolous within the meaning of Paragraph 1915(e)(2), and
accordingly the action must be dismissed.

                                        CONCLUSION

        The defendant's motion to dismiss is GRANTED, and the complaint shall be dismissed
on the ground that it is frivolous. 2 The clerk is directed to enter judgment in accord with this
disposition.

       No costs.

       It is so ORDERED.

                                             Charles F. Lettow
                                             Judge




       1
         Mr. Connors neither defines the "Organization" nor does he make any allegation that it
is part of, has a connection with, the Government of the United States. Consequently, he has not
stated a claim against the only defendant that is cognizable in this court.

       2
        The application for leave to proceed informa pauperis is GRANTED.
                                                2
